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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

 BBAM Aircraft Management LP et al              )      3:20-CV-1056 (OAW)
     Plaintiffs,                                )
                                                )
        v.                                      )
                                                )
 Babcock & Brown LLC et al                      )
       Defendants.                              )      JANUARY 12, 2022
                                                )
                                                )

                                            ORDER

       To promote an orderly and efficient transition of matters reassigned to the undersigned, the

Court issues the following orders:

   Within 14 days of this Order, the parties shall submit a Joint Status Report advising the Court

as to the following:

   1. A brief description of the nature of the case;

   2. The status of discovery;

   3. The nature and status of any outstanding motions, including the parties’ position(s) as to
      whether any such motions are ripe for adjudication and whether the parties request oral
      argument on any motion – each motion should be identified by the ECF No. for the sealed
      (non-redacted) version, and the ECF No. for the accompanying response(s) and replies.
      Unless a motion to seal is opposed, do not list motions to seal as individual motions ripe
      for adjudication. Instead, list any motions to seal directly under the corresponding motion
      which is ripe for adjudication. Be sure to identify all documents by the ECF No. to the
      sealed, unredacted version where such version exists;

   4. Whether the parties are actively engaged in settlement discussions and/or whether the
      parties seek a referral to a Magistrate Judge for settlement purposes;

   5. Whether the parties will consent to a trial before a magistrate judge; and

   6. The estimated length of trial.
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SO ORDERED at Hartford, Connecticut, this Twelfth day of January 2022.


                                  /s/ Omar A. Williams
                                  OMAR A. WILLIAMS
                                  UNITED STATES DISTRICT JUDGE
